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                                    711




                             Exhibit O
             Case
10/11/24, 10:09 PM 2:24-cv-00572-JRG             Document 41-26CA to Filed
                                                       Cupertino,           10/28/24
                                                                     Marshall,                Page 2 of 2 PageID #:
                                                                               Texas - Google Maps
                                                              712
                                Cupertino, CA to Marshall, Texas                                         Drive 1,844 miles, 27 hr




                                                                                    Map data ©2024 Google, INEGI   100 mi



             via I-40 E
              Fastest route now, avoids road
                                                                 27 hr
                                                       1,844 miles
              closure on I-635 E
                 This route has tolls.
                 Your destination is in a different time zone.


             via I-40 E and I-20 E                              28 hr
                                                           1,867 miles




             via I-10 E and I-20 E                              28 hr
                                                           1,932 miles




     Explore new places along this route
     Add suggested stops




https://www.google.com/maps/dir/Cupertino,+CA/Marshall,+Texas/@34.1240844,-113.063296,6z/data=!4m14!4m13!1m5!1m1!1s0x808fb4571bd377ab…   1/1
